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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

BETHANI WHITE,

               Plaintiff,

v.                                                          Case No. 1:15cv00728 JCH/LF

ALLSTATE PROPERTY AND CASUALTY
INSURANCE COMPANY

               Defendant.

                            RULE 41 DISMISSAL WITH PREJUDICE
        Pursuant to Rule 41 NMRA, Plaintiff Bethani White hereby voluntarily dismisses her

complaint against Defendant Allstate Property and Casualty Insurance Company, with prejudice.

Each party will bear their own attorneys’ fees and costs.

                                             Respectfully Submitted,



                                             Telephonic approval 5.2.16
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